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   15
                            SOUTHERN DISTRICT OF CALIFORNIA
   16
        Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
   17

   18                      Plaintiffs,
                                                     DECLARATION OF MELISSA
   19            v.                                  CROW IN SUPPORT OF
                                                     PLAINTIFFS’ MOTION FOR
   20   Kevin K. McAleenan,1 et al.,                 PRELIMINARY INJUNCTION
   21
                           Defendants.
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   27   1
       Acting Secretary McAleenan is automatically substituted for former Secretary
   28
      Nielsen pursuant to Fed. R. Civ. P. 25(d).
                                                        DECLARATION OF MELISSA CROW
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                                              2                DECLARATION OF MELISSA CROW
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    1                        DECLARATION OF MELISSA CROW
    2         I, Melissa Crow, hereby declare under penalty of perjury pursuant to 28
    3   U.S.C. § 1746:
    4         1.     I am a Senior Supervising Attorney with the Southern Poverty Law
    5   Center’s Immigrant Justice Project and co-lead counsel for the Plaintiffs in this case.
    6         2.     Attached hereto as Exhibit 1 is a true and accurate copy of a document
    7   bearing the Bates stamps AOL-DEF-00011372. “AOL-DEF” denotes a document
    8   produced by Defendants in this litigation. Exhibit 1 is designated “Confidential”
    9   under the Court’s Protective Order (Dkt. 276).
   10         3.     Attached hereto as Exhibit 2 is a true and accurate copy of a report from
   11   the U.S. Department of Homeland Security’s Office of Inspector General dated
   12   September 27, 2018 entitled Special Review – Initial Observations Regarding
   13   Family Separation Issues Under the Zero Tolerance Policy.
   14         4.     Attached hereto as Exhibit 3 is a true and accurate copy of the
   15   declaration of Stephanie Leutert.
   16         5.     Attached hereto as Exhibit 4 is a true and accurate copy of the
   17   declaration of Nicole Ramos.
   18         6.     Attached hereto as Exhibit 5 is a true and accurate copy of the
   19   declaration of Named Plaintiff Roberto Doe.           This individual has signed the
   20   declaration using a pseudonym because he or she fears retaliation by U.S.
   21   immigration authorities. If the Court requests, Plaintiffs are willing to identify this
   22   individual in camera.
   23         7.     Attached hereto as Exhibit 6 is a true and accurate copy of the
   24   declaration of K.S. This individual has signed the declaration using pseudonymous
   25   initials because he or she fears retaliation by U.S. immigration authorities. If the
   26   Court requests, Plaintiffs are willing to identify this individual in camera.
   27         8.     Attached hereto as Exhibit 7 is a true and accurate copy of the
   28   declaration of S.N. This individual has signed the declaration using pseudonymous
                                                  3                DECLARATION OF MELISSA CROW
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    1   initials because he or she fears retaliation by U.S. immigration authorities. If the
    2   Court requests, Plaintiffs are willing to identify this individual in camera.
    3         9.     Attached hereto as Exhibit 8 is a true and accurate copy of the
    4   declaration of Bianka Doe. This individual has signed the declaration using a
    5   pseudonym because he or she fears retaliation by U.S. immigration authorities. If
    6   the Court requests, Plaintiffs are willing to identify this individual in camera.
    7         10.    Attached hereto as Exhibit 9 is a true and accurate copy of the
    8   declaration of China. This individual has signed the declaration using a pseudonym
    9   because he or she fears retaliation by U.S. immigration authorities. If the Court
   10   requests, Plaintiffs are willing to identify this individual in camera.
   11         11.    Attached hereto as Exhibit 10 is a true and accurate copy of the
   12   declaration of Courtney Collins. This individual has signed the declaration using a
   13   pseudonym because he or she fears retaliation by U.S. immigration authorities. If
   14   the Court requests, Plaintiffs are willing to identify this individual in camera.
   15         12.    Attached hereto as Exhibit 11 is a true and accurate copy of the
   16   declaration of C.P. This individual has signed the declaration using pseudonymous
   17   initials because he or she fears retaliation by U.S. immigration authorities. If the
   18   Court requests, Plaintiffs are willing to identify this individual in camera.
   19         13.    Attached hereto as Exhibit 12 is a true and accurate copy of the
   20   declaration of Djamal Doe. This individual has signed the declaration using a
   21   pseudonym because he or she fears retaliation by U.S. immigration authorities. If
   22   the Court requests, Plaintiffs are willing to identify this individual in camera.
   23         14.    Attached hereto as Exhibit 13 is a true and accurate copy of the
   24   declaration of Dora Doe.       This individual has signed the declaration using a
   25   pseudonym because he or she fears retaliation by U.S. immigration authorities. If
   26   the Court requests, Plaintiffs are willing to identify this individual in camera.
   27         15.    Attached hereto as Exhibit 14 is a true and accurate copy of the
   28   declaration of J.R. This individual has signed the declaration using pseudonymous
                                                  4                DECLARATION OF MELISSA CROW
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    1   initials because he or she fears retaliation by U.S. immigration authorities. If the
    2   Court requests, Plaintiffs are willing to identify this individual in camera.
    3         16.    Attached hereto as Exhibit 15 is a true and accurate copy of the
    4   declaration of Jordan Doe. This individual has signed the declaration using a
    5   pseudonym because he or she fears retaliation by U.S. immigration authorities. If
    6   the Court requests, Plaintiffs are willing to identify this individual in camera.
    7         17.    Attached hereto as Exhibit 16 is a true and accurate copy of the
    8   declaration of King Doe.       This individual has signed the declaration using a
    9   pseudonym because he or she fears retaliation by U.S. immigration authorities. If
   10   the Court requests, Plaintiffs are willing to identify this individual in camera.
   11         18.    Attached hereto as Exhibit 17 is a true and accurate copy of the
   12   declaration of A.V.M.M.         This individual has signed the declaration using
   13   pseudonymous initials because he or she fears retaliation by U.S. immigration
   14   authorities. If the Court requests, Plaintiffs are willing to identify this individual in
   15   camera.
   16         19.    Attached hereto as Exhibit 18 is a true and accurate copy of the
   17   declaration of S.M.R.G.        This individual has signed the declaration using
   18   pseudonymous initials because he or she fears retaliation by U.S. immigration
   19   authorities. If the Court requests, Plaintiffs are willing to identify this individual in
   20   camera.
   21         20.    Attached hereto as Exhibit 19 is a true and accurate copy of the
   22   declaration of A.N.H.        This individual has signed the declaration using
   23   pseudonymous initials because he or she fears retaliation by U.S. immigration
   24   authorities. If the Court requests, Plaintiffs are willing to identify this individual in
   25   camera.
   26         21.    Attached hereto as Exhibit 20 is a true and accurate copy of the
   27   declaration of M.G. This individual has signed the declaration using pseudonymous
   28   initials because he or she fears retaliation by U.S. immigration authorities. If the
                                                   5                DECLARATION OF MELISSA CROW
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    1   Court requests, Plaintiffs are willing to identify this individual in camera.
    2         22.    Attached hereto as Exhibit 21 is a true and accurate copy of the
    3   declaration of O.S. This individual has signed the declaration using pseudonymous
    4   initials because he or she fears retaliation by U.S. immigration authorities. If the
    5   Court requests, Plaintiffs are willing to identify this individual in camera.
    6         23.    Attached hereto as Exhibit 22 is a true and accurate copy of the
    7   declaration of B.B. This individual has signed the declaration using pseudonymous
    8   initials because he or she fears retaliation by U.S. immigration authorities. If the
    9   Court requests, Plaintiffs are willing to identify this individual in camera.
   10         24.    Attached hereto as Exhibit 23 is a true and accurate copy of the
   11   declaration of Adam Isacson.
   12         25.    Attached hereto as Exhibit 24 is a true and accurate copy of the
   13   declaration of Brian Griffey.
   14         26.    Attached hereto as Exhibit 25 is a true and accurate copy of an email
   15   sent by Edward Grodin, Associate General Counsel, Executive Office for
   16   Immigration Review (“EOIR”), U.S. Department of Justice, to EOIR leadership
   17   regarding application of third-country-transit rule dated September 12, 2019.
   18         27.    Attached hereto as Exhibit 26 is a true and accurate copy of a June 18,
   19   2018 article from the New York Times entitled Kirstjen Nielsen Addresses Families
   20   Separation at Border: Full Transcript.
   21         28.    Attached hereto as Exhibit 27 is a true and accurate copy of the
   22   declaration of Alejandra Macias Delgadillo.
   23         29.    Attached hereto as Exhibit 28 is a true and accurate copy of the
   24   declaration of Michelle Brané.
   25         30.    Attached hereto as Exhibit 29 is a true and accurate copy of a document
   26   bearing the Bates stamps CBPALORT000036.
   27         31.    Attached hereto as Exhibit 30 is a true and accurate copy of a July 3,
   28   2019 article from National Public Radio entitled “‘Metering’ Policy on the Southern
                                                  6                DECLARATION OF MELISSA CROW
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    1   Border Faces Renewed Scrutiny.”
    2         32.      Attached hereto as Exhibit 31 is a true and accurate copy of a June 17,
    3   2019 article from Public Radio International entitled “Thousands of asylum-seekers
    4   left waiting at the U.S.-Mexico border.
    5         33.      Attached hereto as Exhibit 32 is a true and accurate copy of a May 9,
    6   2019 article from AP News entitled “For thousands of asylum seekers, all they can
    7   do is wait.”
    8         34.      Attached hereto as Exhibit 33 is a true and accurate copy of a November
    9   28, 2018 article from Vox entitled “The US has made migrants at the border wait
   10   months to apply for asylum. Now the dam is breaking.”
   11         35.      Attached hereto as Exhibit 34 is a true and accurate copy of U.S.
   12   Customs & Border Protection, “Southwest Border Migration FY2019 – Office of
   13   Field Operations Southwest Border Inadmissibles FY2019” (last modified Sept. 9,
   14   2019), http://bit.ly/2kpwpEn.
   15         36.      Attached hereto as Exhibit 35 is a true and accurate copy of a December
   16   17, 2018 letter from U.S. Representatives Jerrold Nadler, Bennie G. Thompson, and
   17   Zoe Lofgren to Defendant Kevin K. McAleenan.
   18         37.      Attached hereto as Exhibit 36 is a true and accurate copy of a July 29,
   19   2019 article from NBC News entitled Stephen Miller Want Border Patrol, Not
   20   Asylum Officers, to Determine Migrant Asylum Claims.
   21         38.      Attached hereto as Exhibit 37 is a true and accurate copy of a January
   22   28, 2019 article from The Atlantic entitled An Obscure White House Staffer’s Jaw-
   23   Dropping Trump Tell-All.
   24         39.      Attached hereto as Exhibit 38 is a true and accurate copy of April 5,
   25   2019 Remarks by President Trump Before Marine One Departure.
   26         40.      Attached hereto as Exhibit 39 is a true and accurate copy of April 15,
   27   2019 Remarks by President Trump in Roundtable Discussion on the Economy and
   28   Tax Reform.
                                                  7                DECLARATION OF MELISSA CROW
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    1         41.     Attached hereto as Exhibit 40 is a true and accurate copy of a transcript
    2   of President Trump’s April 6, 2019 speech to the Republican Jewish Coalition.
    3         42.     Attached hereto as Exhibit 41 is a true and accurate copy of a document
    4   bearing the Bates stamps AOL-DEF-00012000. Exhibit 41 is designated “Highly
    5   Confidential” under the Court’s Protective Order (Dkt. 276).
    6         43.     Attached hereto as Exhibit 42 is a true and accurate copy of a document
    7   bearing the Bates stamps AOL-DEF-00012012-17.                   Exhibit 42 is designated
    8   “Confidential” under the Court’s Protective Order (Dkt. 276).
    9         44.     Attached hereto as Exhibit 43 is a true and accurate copy of a document
   10   bearing the Bates stamps AOL-DEF-00011122-11232. Exhibit 43 is designated
   11   “Highly Confidential” under the Court’s Protective Order (Dkt. 276).
   12         45.     Attached hereto as Exhibit 44 is a true and accurate copy of a May 2019
   13   report from the American Immigration Council entitled The Cost of Immigration
   14   Enforcement and Border Security.
   15         46.     Attached hereto as Exhibit 45 is a true and accurate copy of U.S.
   16   Customs and Border Protection’s Border Security Report Fiscal Year 2018, dated
   17   March 2019.
   18         47.     Attached hereto as Exhibit 46 is a true and accurate copy of a report
   19   entitled San Ysidro LPOE Project Facts, which was published by the U.S. General
   20   Services Administration.
   21         48.     Attached hereto as Exhibit 47 is a true and accurate copy of the
   22   declaration of CCAA.          This individual has signed the declaration using
   23   pseudonymous initials because he or she fears retaliation by U.S. immigration
   24   authorities. If the Court requests, Plaintiffs are willing to identify this individual in
   25   camera.
   26         49.     Attached hereto as Exhibit 48 is a true and accurate copy of the
   27   declaration of Marlon Doe. This individual has signed the declaration using a
   28   pseudonym because he or she fears retaliation by U.S. immigration authorities. If
                                                   8                DECLARATION OF MELISSA CROW
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    1   the Court requests, Plaintiffs are willing to identify this individual in camera.
    2         50.    Attached hereto as Exhibit 49 is a true and accurate copy of the
    3   declaration of Mowha Doe. This individual has signed the declaration using a
    4   pseudonym because he or she fears retaliation by U.S. immigration authorities. If
    5   the Court requests, Plaintiffs are willing to identify this individual in camera.
    6         I declare under penalty of perjury under the laws of the United States of
    7   America that the proceeding declaration is true and correct.
    8         Executed on this 26th day of September 2019 at Washington, D.C.
    9

   10         /s/ Melissa Crow
   11         Melissa Crow
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                                                  9                DECLARATION OF MELISSA CROW
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                                                               DECLARATION OF MELISSA CROW
